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  8
  9
                                UNITED STATES DISTRICT COURT
 10                            CENTRAL DISTRICT OF CALIFORNIA
 11
 12     Rafael Arroyo, Jr.,                     Case No.
 13               Plaintiff,
                                                Complaint For Damages And
 14       v.                                    Injunctive Relief For Violations
                                                Of: American’s With Disabilities
 15     A & G Interprises, LLC, a               Act; Unruh Civil Rights Act
        California Limited Liability
 16     Company;
        Carmen Rosas; and Does 1-10,
 17
                  Defendants.
 18
 19
            Plaintiff Rafael Arroyo, Jr. complains of Defendant A & G Interprises,
 20
      LLC, a California Limited Liability Company; Carmen Rosas; and Does 1-10
 21
      (“Defendants”), and alleges as follows:
 22
 23
 24         PARTIES:
 25     1. Plaintiff is a California resident with physical disabilities. He is a
 26   paraplegic who cannot walk and who uses a wheelchair for mobility.
 27     2. Defendant A & G Interprises, LLC owned the real property located at or
 28   about 16502 S. Main Street, Gardena, California, in July 2018.


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  1     3. Defendant A & G Interprises, LLC owns the real property located at or
  2   about 16502 S. Main Street, Gardena, California, currently.
  3     4. Defendant Carmen Rosas owned Gardena Main Plaza Liquor located at
  4   or about 16502 S. Main Street, Gardena, California, in July 2018.
  5     5. Defendant Carmen Rosas owns Gardena Main Plaza Liquor (“Store”)
  6   located at or about 16502 S. Main Street, Gardena, California, currently.
  7     6. Plaintiff does not know the true names of Defendants, their business
  8   capacities, their ownership connection to the property and business, or their
  9   relative responsibilities in causing the access violations herein complained of,
 10   and alleges a joint venture and common enterprise by all such Defendants.
 11   Plaintiff is informed and believes that each of the Defendants herein,
 12   including Does 1 through 10, inclusive, is responsible in some capacity for the
 13   events herein alleged, or is a necessary party for obtaining appropriate relief.
 14   Plaintiff will seek leave to amend when the true names, capacities,
 15   connections, and responsibilities of the Defendants and Does 1 through 10,
 16   inclusive, are ascertained.
 17
 18     JURISDICTION & VENUE:
 19     7. The Court has subject matter jurisdiction over the action pursuant to 28
 20   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 21   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 22     8. Pursuant to supplemental jurisdiction, an attendant and related cause
 23   of action, arising from the same nucleus of operative facts and arising out of
 24   the same transactions, is also brought under California’s Unruh Civil Rights
 25   Act, which act expressly incorporates the Americans with Disabilities Act.
 26     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 27   founded on the fact that the real property which is the subject of this action is
 28   located in this district and that Plaintiff's cause of action arose in this district.


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  1     FACTUAL ALLEGATIONS:
  2     10. Plaintiff went to the Store in July 2018 to shop.
  3     11. The Store is a facility open to the public, a place of public
  4   accommodation, and a business establishment.
  5     12. Parking spaces are one of the facilities, privileges, and advantages
  6   offered by Defendants to patrons of the Store.
  7     13. Unfortunately, even though there was a parking space marked and
  8   reserved for persons with disabilities in the parking lot of the Store during
  9   Plaintiff’s visit, the parking space was not van accessible.
 10     14. The parking stall measured 99 inches in width while the access aisle
 11   measured about 60 inches in width. This is not van accessible. There is
 12   currently no van-accessible parking at the Store.
 13     15. In addition to not having a van-accessible parking space for persons with
 14   disabilities, the parking stall and access aisle were not level with each other.
 15   The parking stall and access aisle had cross slopes and running slopes greater
 16   than 2.1%.
 17     16. Currently, the parking stall and access aisle are not level with each other.
 18     17. In addition, there is no “NO PARKING” warning in the access aisle.
 19     18. Transaction counters are one of the facilities, privileges, and advantages
 20   offered by Defendants to patrons of the Store.
 21     19. Unfortunately, the transaction counter is 55 inches in height. There is
 22   no lowered, 36 inch portion of counter for use by persons in wheelchairs.
 23     20. Defendants have failed to maintain in operable working condition those
 24   features of facilities and equipment that are required to be readily accessible to
 25   and usable by persons with disabilities at the Subject Property.
 26     21. Plaintiff personally encountered these barriers.
 27     22. This inaccessible facility denied the plaintiff full and equal access and
 28   caused him difficulty, discomfort, and embarrassment.


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  1     23. Paths of travel are one of the facilities, privileges, and advantages
  2   offered by Defendants to patrons of the Store.
  3     24. Although there are shelves and merchandise aisles open to customers
  4   for shopping, and even though the plaintiff did not personally confront the
  5   barriers, the paths of travel in and throughout these merchandise aisles is not
  6   accessible to wheelchair users because of the configuration of the store and
  7   also because the defendants have a practice of placing merchandise and
  8   merchandise displays in the paths of travel, restricting passage to less than 36
  9   inches in width.
 10     25. Plaintiff plans to return and patronize the Store but is deterred from
 11   visiting until the defendants remove the barriers.
 12     26. The defendants have failed to maintain in working and useable
 13   conditions those features required to provide ready access to persons with
 14   disabilities.
 15     27. The barriers identified above are easily removed without much
 16   difficulty or expense. They are the types of barriers identified by the
 17   Department of Justice as presumably readily achievable to remove and, in fact,
 18   these barriers are readily achievable to remove. Moreover, there are numerous
 19   alternative accommodations that could be made to provide a greater level of
 20   access if complete removal were not achievable.
 21     28. For example, there are numerous paint/stripe companies that will stripe
 22   a level, van-accessible parking stall and access aisle and install proper signage
 23   on short notice and for a modest price, sometimes as low as $300, in full
 24   compliance with federal and state access standards.
 25     29. Another common barrier removal project is modifying transaction
 26   counters to make a portion of the counter accessible. This is a simple
 27   construction task, well within the capabilities of any general contractor. The
 28   task can be completed easily and for a modest price.


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  1     30. Plaintiff is deterred from returning and patronizing the Store because of
  2   his knowledge of the barriers that exist. Plaintiff will, nonetheless, return to
  3   assess ongoing compliance with the ADA and will return to patronize the Store
  4   as a customer once the barriers are removed.
  5     31. Given the obvious and blatant nature of the violations and barriers
  6   alleged herein, the plaintiff alleges, on information and belief, that there are
  7   other violations and barriers on the site that relate to his disability. Plaintiff will
  8   amend the Complaint to provide proper notice regarding the scope of this
  9   lawsuit once he conducts a site inspection. However, please be on notice that
 10   the plaintiff seeks to have all barriers related to his disability remedied. See
 11   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 12   encounters one barrier at a site, he can sue to have all barriers that relate to his
 13   disability removed regardless of whether he personally encountered them).
 14
 15   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 16   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 17   Defendants.) (42 U.S.C. section 12101, et seq.)
 18     32. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 19   again herein, the allegations contained in all prior paragraphs of this
 20   complaint.
 21     33. Under the ADA, it is an act of discrimination to fail to ensure that the
 22   privileges, advantages, accommodations, facilities, goods and services of any
 23   place of public accommodation is offered on a full and equal basis by anyone
 24   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 25   § 12182(a). Discrimination is defined, inter alia, as follows:
 26             a. A failure to make reasonable modifications in policies, practices,
 27                or procedures, when such modifications are necessary to afford
 28                goods,     services,     facilities,   privileges,    advantages,      or


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  1               accommodations to individuals with disabilities, unless the
  2               accommodation would work a fundamental alteration of those
  3               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
  4            b. A failure to remove architectural barriers where such removal is
  5               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
  6               defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
  7               Appendix “D.”
  8            c. A failure to make alterations in such a manner that, to the
  9               maximum extent feasible, the altered portions of the facility are
 10               readily accessible to and usable by individuals with disabilities,
 11               including individuals who use wheelchairs or to ensure that, to the
 12               maximum extent feasible, the path of travel to the altered area and
 13               the bathrooms, telephones, and drinking fountains serving the
 14               altered area, are readily accessible to and usable by individuals
 15               with disabilities. 42 U.S.C. § 12183(a)(2).
 16     34. Any business that provides parking spaces must provide accessible
 17   parking spaces. 1991 Standards § 4.1.2(5); 2010 Standards § 208. One in
 18   every eight of those accessible parking spaces but not less than one must be a
 19   “van” accessible parking space, i.e., having an eight foot access aisle. 1991
 20   Standards § 4.1.2(5)(b). Under the 2010 Standards, one in every six accessible
 21   parking spaces must be van accessible. 2010 Standards § 208.2.4.
 22     35. Here, the lack of a van parking space is a violation of the law.
 23     36. Under the 1991 Standards, parking spaces and access aisles must be
 24   level with surface slopes not exceeding 1:50 (2%) in all directions. 1991
 25   Standards § 4.6.3. Under the 2010 Standards, access aisles shall be at the
 26   same level as the parking spaces they serve. Changes in level are not
 27   permitted. 2010 Standards 502.4. “Access aisle are required to be nearly level
 28   in all directions to provide a surface for wheelchair transfer to and from


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  1   vehicles.” 2010 Standards § 502.4 Advisory. No more than a 1:48 slope is
  2   permitted. 2010 Standards § 502.4.
  3     37. Here, the failure to provide level parking is a violation of the law.
  4     38. Any business that provides parking spaces must provide accessible
  5   parking spaces. 1991 Standards § 4.1.2(5); 2010 Standards § 208. To qualify
  6   as a reserved handicap parking space, the space must be properly marked and
  7   designated. Under the ADA, the method, color of marking, and length of the
  8   parking space are to be addressed by state or local laws or regulations. See 36
  9   C.F.R., Part 1191, § 502.3.3. Under the California Building Code, to properly
 10   and effectively reserve a parking space for persons with disabilities, each
 11   parking space must be at least 216 inches in length. CBC § 11B-502.2. The
 12   access aisle must extend the full length of the parking spaces it serves. 2010
 13   Standards § 502.3.2. Under the California Building Code, a sign must be
 14   posted in a conspicuous place at the entrance to the parking lot or immediately
 15   adjacent to each handicap parking space, with lettering 1 inch in height, that
 16   clearly and conspicuously warn that unauthorized vehicles parking in the
 17   handicap parking spaces can be towed at the owner’s expense. CBC §
 18   1129B.4. The surface of the access aisle must have a blue border. CBC §
 19   1129B.3. The words “NO PARKING” in letters at least a foot high must be
 20   painted on the access aisle. Id.
 21     39. Here, there was no “NO PARKING” lettering in the access aisle, in
 22   violation of the ADA.
 23     40. In areas used for transactions where counters have cash registers and
 24   are provided for sales or distribution of goods or services to the public, at least
 25   one of each type shall have a portion of the counter which is at least 36 inches
 26   in length with a maximum height of 36 inches above the floor. 1991 Standards
 27   § 7.2(1). Under the 2010 Standards, where the approach to the sales or service
 28   counter is a parallel approach, such as in this case, there must be a portion of


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  1   the sales counter that is no higher than 36 inches above the floor and 36 inches
  2   in width and must extend the same depth as the rest of the sales or service
  3   counter top. 2010 Standards § 904.4 & 904.4.1.
  4     41. Here, no such accessible transaction counter has been provided in
  5   violation of the ADA.
  6     42. Shelves and display units allowing self-service by customers at stores
  7   must be located on an accessible route. 1991 Standards § 4.1.3(12)(b). An
  8   accessible route must be at least 36 inches in width. 1991 Standards § 4.3.3.
  9     43. Here, the failure to provide accessible paths of travel in and throughout
 10   the merchandise aisles is a violation of the law.
 11     44. A public accommodation must maintain in operable working condition
 12   those features of its facilities and equipment that are required to be readily
 13   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 14     45. Here, the failure to ensure that the accessible facilities were available
 15   and ready to be used by the plaintiff is a violation of the law.
 16     46. Given its location and options, plaintiff will continue to desire to
 17   patronize the Store but he has been and will continue to be discriminated
 18   against due to the lack of accessible facilities and, therefore, seeks injunctive
 19   relief to remove the barriers.
 20
 21   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 22   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 23   Code § 51-53.)
 24     47. Plaintiff repleads and incorporates by reference, as if fully set forth
 25   again herein, the allegations contained in all prior paragraphs of this
 26   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 27   that persons with disabilities are entitled to full and equal accommodations,
 28   advantages, facilities, privileges, or services in all business establishment of


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  1   every kind whatsoever within the jurisdiction of the State of California. Cal.
  2   Civ. Code §51(b).
  3      48. The Unruh Act provides that a violation of the ADA is a violation of the
  4   Unruh Act. Cal. Civ. Code, § 51(f).
  5      49. Defendants’ acts and omissions, as herein alleged, have violated the
  6   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
  7   rights to full and equal use of the accommodations, advantages, facilities,
  8   privileges, or services offered.
  9      50. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 10   discomfort or embarrassment for the plaintiff, the defendants are also each
 11   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 12   (c).)
 13
 14             PRAYER:
 15             Wherefore, Plaintiff prays that this Court award damages and provide
 16   relief as follows:
 17           1. For injunctive relief, compelling Defendants to comply with the
 18   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 19   plaintiff is not invoking section 55 of the California Civil Code and is not
 20   seeking injunctive relief under the Disabled Persons Act at all.
 21           2. Damages under the Unruh Civil Rights Act, which provides for actual
 22   damages and a statutory minimum of $4,000.
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   1       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
   2   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
   3
   4   Dated: July 20, 2018             CENTER FOR DISABILITY ACCESS
   5
   6
                                        By:
   7                                    _______________________________
   8                                          Chris Carson, Esq.
                                              Attorney for plaintiff
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